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                                  10                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                  12
Northern District of California
 United States District Court




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                                  14   UNITED STATES OF AMERICA,
                                  15                  Plaintiff,                           No. CR 14-00175 WHA

                                  16           v.

                                  17   PACIFIC GAS AND ELECTRIC                            ORDER REQUESTING
                                       COMPANY,                                            ADDITIONAL INFORMATION
                                  18                                                       FOLLOWING PG&E’S NOVEMBER
                                                      Defendant.                           18 BRIEFING
                                  19

                                  20

                                  21        The Court has read PG&E’s submission dated November 18, 2020, and acknowledges
                                  22   the efforts of PG&E and its counsel. By DECEMBER 16, 2020 AT NOON, PG&E shall please
                                  23   answer these additional questions:
                                  24        1. State the full extent to which PG&E itself (as opposed to its contractors and/or
                                  25            subcontractors) maintains records with respect to individual distribution lines in Tier
                                  26            2 and Tier 3 areas:
                                  27                a. Setting forth the reports of inspections identifying trees or limbs for removal
                                  28                    and the data thereof;
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                                   1              b. Setting forth the full extent to which the work identified in such inspections

                                   2                  was accomplished and dates accomplished;

                                   3              c. Setting forth the full extent to which the work identified in such inspections

                                   4                  has NOT been performed.

                                   5       2. In its response dated November 3, 2020, PG&E stated on page two its intention to

                                   6          improve contractor fidelity to the EVM program and stated that mid-2019

                                   7          improvements “included 100% work verification, increased contractor training,

                                   8          contractor competency tests, and numerous changes to improve EVM

                                   9          recordkeeping.” State in plain terms what each of these changes are, the date of their

                                  10          implementation, and contractor compliance since that implementation.

                                  11       3. Explain each type of consequence that PG&E considers when evaluating a region for

                                  12          the Black Swan criteria. Also explain the source of the information informing each
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                                  13          consequence. (For example, if potential loss of life is a “consequence” factored in,

                                  14          explain how the estimated potential loss of life is calculated and from what source the

                                  15          underlying population figures are derived).

                                  16       4. Please provide a real-life example of calculations using the equations described in

                                  17          footnote seven of PG&E’s November 18 response. In responding, please re-state the

                                  18          equations, identify an example from the real world of values associated with each

                                  19          variable, and perform the calculation while “showing your work.”

                                  20       5. Explain the ArcGIS and Collector App systems in detail. Specifically:

                                  21              a. Explain how the ArcGIS records operate with respect to the “TC_Worked”

                                  22                  field. When and how is the TC_Worked field generated? Do any alternative

                                  23                  field(s) account for tree(s) or portions of line that were inspected but where

                                  24                  inspectors did not identify any hazard trees/limbs?

                                  25              b. Explain whether these system(s) allow and/or require workers to upload

                                  26                  evidence of tree removal or trimming along with an indication that work was

                                  27                  completed. Explain how the ArcGIS and Collector App systems

                                  28                  communicate, if at all, with PG&E’s PMD system, including the degree to
                                                                                     2
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                                   1                  which the PSPS decision-makers including the meteorology team have access

                                   2                  to tree inspection and removal/trimming data from the ArcGIS and Collector

                                   3                  App systems.

                                   4       6. Is the gray pine now in PG&E’s possession, a portion of which was removed by

                                   5          CalFire, marked by any spray paint?

                                   6              a. PG&E shall ask CalFire and/or the Shasta County District Attorney’s office to

                                   7                  answer, first, whether the portions of the gray pine that CalFire removed show

                                   8                  any spray paint and, second, whether the portion of tree that it removed

                                   9                  contained burn marks that could obscure such paint.

                                  10       7. The declaration dated November 18, 2020, attached to the response as Exhibit A

                                  11          states at paragraph 23:
                                              [A]t times in 2019, PG&E’s vegetation management team gave guidance not to
                                  12          perform separate CEMA inspection and to close the CEMA project in PG&E’s
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                                  13          PMD following the commencement of the routine patrol in situations where, as
                                              a result of risk-based prioritization changes to the routine patrol schedule, the
                                  14          CEMA patrol (the scope of which is subsumed in a routine patrol) had been
                                              scheduled close in time to the routine patrol.
                                  15
                                              How many CEMA inspections, required by the 2019 Wildlife Mitigation Plan, were
                                  16
                                              NOT conducted as a result of these schedule changes during PG&E’s pre-inspection
                                  17
                                              annual calendar, November 16, 2019, to November 15, 2020?
                                  18
                                           8. Update PG&E’s response to this question based on any new information,
                                  19
                                              investigation, or conclusions reached since the filing of the November 18 response:
                                  20
                                              “Is there specific evidence that the particular gray pine [removed by CalFire] was
                                  21
                                              trimmed or removed prior to the Zogg fire? Was this tree identified for work by any
                                  22
                                              patrol?”
                                  23
                                           9. In its response dated November 3, 2020, PG&E states that it utilizes a risk model to
                                  24
                                              select areas to be worked for EVM. Why can’t the system for determining whether a
                                  25
                                              distribution line will be de-energized in a PSPS event operate on a risk model, which
                                  26
                                              takes into account the extent to which the relevant distribution lines are in compliance
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                                   1           with Public Resource Code Sections 4292 and 4293 and PG&E’s own Wildfire

                                   2           Mitigation Plan?

                                   3

                                   4        Please respond by DECEMBER 16, 2020, AT NOON.

                                   5       IT IS SO ORDERED.

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                                   7   Dated: November 24, 2020.

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                                                                                       WILLIAM ALSUP
                                  10                                                   UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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